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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 08-20574-CR-LENARD(s)

UNITED STATES OF AMERICA
Vv.
DAVID PACKOUZ,

Defendant.
/

PLEA AGREEMENT

The United States of America and David Packouz (hereinafter “defendant”) enter into the
following agreement:

l. The defendant agrees to plead guilty to Count 1 of the Superseding Indictment, which
count charges the defendant with conspiring to make false statements, in violation of Title 18, United
States Code, Section 1001(a)(2), conspiring to commit major fraud against the United States, in
violation of Title 18, United States Code, Section 1031, and conspiring to commit wire fraud, in
violation of Title 18, United States Code, Section 1343, all in violation of Title 18, United States
Code, Section 371.

2. The United States agrees to seek dismissal of Counts 37-46 and Counts 73-76 of the
Superseding Indictment, as to this defendant, after sentencing.

3. The defendant is aware that the sentence will be imposed by the court after
considering the Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing

Guidelines”). The defendant acknowledges and understands that the court will compute an advisory
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sentence under the Sentencing Guidelines and that the applicable guidelines will be determined by
the court relying in part on the results of a Pre-Sentence Investigation by the court’s probation office,
which investigation will commence after the guilty plea has been entered. The defendant is also
aware that, under certain circumstances, the court may depart from the advisory sentencing guideline
range that it has computed, and may raise or lower that advisory sentence under the Sentencing
Guidelines. The defendant is further aware and understands that the court is required to consider the
advisory guideline range determined under the Sentencing Guidelines, but is not bound to impose
that sentence; the court is permitted to tailor the ultimate sentence in light of other statutory
concerns, and such sentence may be either more severe or less severe than the Sentencing
Guidelines’ advisory sentence. Knowing these facts, the defendant understands and acknowledges
that the court has the authority to impose any sentence within and up to the statutory maximum
authorized by law for the offense identified in paragraph | and that the defendant may not withdraw
the plea solely as a result of the sentence imposed.

4. The defendant also understands and acknowledges that the court may impose a
statutory maximum term of imprisonment of up to five (5) years as to Count 1, followed by a term
of supervised release of up to three (3) years. In addition to a term of imprisonment and supervised
release, the court may impose a fine of up to $250,000, or twice the amount of gross loss or gross
gain involved in the offense as to Count 1. The court may also order restitution.

5. The defendant further understands and acknowledges that, in addition to any sentence
imposed under paragraph 4 of this agreement, a special assessment in the amount of $100 will be
imposed on the defendant. The defendant agrees that any special assessment imposed shall be paid

at the time of sentencing.
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6. The Office of the United States Attorney for the Southern District of Florida
(hereinafter “Office”) reserves the right to inform the court and the probation office of all facts
pertinent to the sentencing process, including all relevant information concerning the offenses
committed, whether charged or not, as well as concerning the defendant and the defendant’s
background. Subject only to the express terms of any agreed-upon sentencing recommendations
contained in this agreement, this Office further reserves the right to make any recommendation as
to the quality and quantity of punishment.

7. The United States and the defendant agree that, although not binding on the probation
office or the court, they will jointly recommend that the court impose a sentence within the advisory
sentencing guideline range produced by application of the Sentencing Guidelines. Although not
binding on the probation office or the court, the United States and the defendant further agree that,
except as otherwise expressly contemplated in this plea agreement, they will jointly recommend that
the court neither depart upward nor depart downward under the Sentencing Guidelines when
determining the advisory sentencing guideline range in this case.

8, The United States agrees that it will recommend at sentencing that the court reduce
by two or three levels the sentencing guideline level applicable to the defendant’s offense, pursuant
to Section 3E1.1 of the Sentencing Guidelines, based upon the defendant’s recognition and
affirmative and timely acceptance of personal responsibility. The United States further agrees to
recommend that the defendant be sentenced at the low end of the guideline range, as that range is
determined by the court. However, the United States will not be required to make these sentencing
recommendations if the defendant: (1) fails or refuses to make full, accurate and complete disclosure

of the circumstances surrounding the relevant offense conduct to the probation office and this Office;
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(2) is found to have misrepresented facts to the government prior to entering this plea agreement;
or (3) commits any misconduct after entering into this plea agreement, including but not limited to
committing a state or federal offense, violating any term of release, or making false statements or
misrepresentations to any governmental entity or official.

9. The United States and the defendant agree that, although not binding on the probation
office or the court, they will jointly recommend that the court make the following findings and
conclusions as to the sentence to be imposed:

a. Base Offense Level. That pursuant to Section 2B1.1 of the Sentencing Guidelines,
the base offense level resulting from the defendant’s offense conduct is six.

b. Role Adjustment. That the defendant should not receive an increase or decrease for
his role in the offense.

10. The defendant also agrees that the defendant shall assist this Office in all proceedings,
whether administrative or judicial, involving the forfeiture to the United States of all rights, title, and
interest, regardless of their nature or form, in all assets, including real and personal property, cash
and other monetary instruments, wherever located, which the defendant or others to his knowledge
have accumulated as a result of illegal activities. Such assistance will involve an agreement on the
defendant's part to the entry of an order enjoining the transfer or encumbrance of assets which may
be identified as being subject to forfeiture, including but not limited to those specific real and
personal properties set forth in the forfeiture counts of the Superseding Indictment. Additionally,
the defendant agrees to identify as being subject to forfeiture all such assets, and to assist in the
transfer of such property to the United States by delivery to this Office upon this Office's request,

all necessary and appropriate documentation with respect to said assets, including consents to
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forfeiture, quit claim deeds and any and all other documents necessary to deliver good and
marketable title to said property. The defendant knowingly and voluntarily agrees to waive any
claim or defense he may have under the Eighth Amendment to the United States Constitution,
including any claim of excessive fine or penalty with respect to the forfeited asset(s).

11. The defendant is aware that Title 18, United States Code, Section 3742 affords the
defendant the right to appeal the sentence imposed in this case. The defendant is also aware that
Title 18, United States Code, Section 2255 affords the defendant the right to collaterally attack the
conviction or the sentence imposed in this case. Acknowledging this, in exchange for the
undertakings made by the United States in this plea agreement, the defendant hereby waives (a) all
rights conferred by Section 3742 to appeal any sentence imposed, including any restitution and
forfeiture order, or to appeal the manner in which the sentence was imposed, unless the sentence
exceeds the maximum permitted by statute or is the result of an upward departure or upward variance
from the guideline range that the court establishes at sentencing; and (b) all rights conferred by
Section 2255 to collaterally attack the conviction, any sentence imposed, including any restitution
and forfeiture order, or the manner in which the sentence was imposed, unless the sentence exceeds
the maximum permitted by statute or is the result of an upward departure or upward variance from
the guideline range that the court establishes at sentencing. The defendant further understands that
nothing in this agreement shall affect the government’s right and/or duty to appeal as set forth in
Title 18, United States Code, Section 3742(b). However, ifthe United States appeals the defendant’s
sentence pursuant to Section 3742(b), the defendant shall be released from the above waiver of
appellate rights. By signing this agreement, the defendant acknowledges that he has discussed the

appeal and collateral attack waiver set forth in this agreement with his attorney. The defendant
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further agrees, together with the United States, to request that the district court enter a specific
finding that the defendant’s waiver of his rights to appeal the sentence to be imposed in this case and
to collaterally attack the conviction or the sentence to be imposed in this case was knowing and
voluntary.

12. The defendant is aware that the sentence has not yet been determined by the court.
The defendant also is aware that any estimate of the probable sentencing range or sentence that the
defendant may receive, whether that estimate comes from the defendant’s attorney, the government,
or the probation office, is a prediction, not a promise, and is not binding on the government, the
probation office or the court. The defendant understands further that any recommendation that the
government makes to the court as to sentencing, whether pursuant to this agreement or otherwise,
is not binding on the court and the court may disregard the recommendation in its entirety. The
defendant understands and acknowledges, as previously acknowledged in paragraph 3 above, that
the defendant may not withdraw his plea based upon the court’s decision not to accept a sentencing
recommendation made by the defendant, the government, or a recommendation made jointly by

both the defendant and the government.
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13. This is the entire agreement and understanding between the United States and the
defendant. There are no other agreements, promises, representations, or understandings unless
contained in a letter from the United States Attorney’s Office executed by all parties and counsel

prior to the change of plea.

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

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ELOISA D. FERNANDEZ
ASSISTANT UNITED STATES ATTORNEY

Date: 0126196 By: Qa ICO:

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AMES M. K ITED Wane ATTORNEY
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KENNETH KU is
ATTORNEY tec FENDANT

Date: S a 6 | oo By: AE
DAVID PACKOUZ

DEFENDANT

 

 
